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                 4                                  UNITED STATES DISTRICT COURT
                 5                                          DISTRICT OF NEVADA
                 6                                                      ***
                 7       UNITED STATES OF AMERICA,                              Case No. 2:14-CR-220 JCM (GWF)
                 8                                              Plaintiff(s),                     ORDER
                 9              v.
               10        COLLETTE WINN, et al.,
               11                                            Defendant(s).
               12
               13              Presently before the court is petitioner Collette Winn’s motion to vacate, set aside, or
               14       correct sentence pursuant to 28 U.S.C. § 2255. (ECF No. 55). The government filed a response
               15       in opposition. (ECF No. 57). Petitioner has not filed a reply and the time to do so has since passed.
               16       I.     Facts
               17              On November 18, 2014, petitioner pleaded guilty to counts one and three of the indictment
               18       (ECF No. 1) for conspiracy, in violation of 18 U.S.C. § 371, and for theft of mail, in violation of
               19       18 U.S.C. § 1708. (ECF No. 49). The plea agreement included, inter alia, a waiver of the right to
               20       appeal his conviction and sentence, except an upward departure, and all non-waivable claims of
               21       ineffective assistance of counsel. (ECF No. 49).
               22              On March 18, 2015, the court sentenced petitioner to fifteen (15) months custody, followed
               23       by three (3) years supervised release. (ECF No. 51). Petitioner was advised of her rights to file
               24       an appeal. (ECF No. 51). The court entered judgment on March 20, 2015. (ECF No. 54).
               25              In the instant motion, petitioner moves to vacate the current sentence and requests an entry
               26       of an amended judgment that orders her sentenced to time served with the sentence to run
               27       concurrent with her now-expired state sentences. (ECF No. 55).
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                1       II.     Legal Standard
                2               Federal prisoners “may move . . . to vacate, set aside or correct [their] sentence” if the court
                3       imposed the sentence “in violation of the Constitution or laws of the United States . . . .” 28 U.S.C.
                4       § 2255(a). Section 2255 relief should be granted only where “a fundamental defect” caused “a
                5       complete miscarriage of justice.” Davis v. United States, 417 U.S. 333, 345 (1974); see also Hill
                6       v. United States, 368 U.S. 424, 428 (1962).
                7               Limitations on § 2255 motions are based on the fact that the movant “already has had a fair
                8       opportunity to present his federal claims to a federal forum,” whether or not he took advantage of
                9       the opportunity. United States v. Frady, 456 U.S. 152, 164 (1982). Section 2255 “is not designed
              10        to provide criminal defendants multiple opportunities to challenge their sentence.” United States
              11        v. Johnson, 988 F.2d 941, 945 (9th Cir. 1993).
              12        III.    Discussion
              13                Petitioner argues that this court and the state court relied on the same factual
              14        misapprehension—that petitioner was in federal custody at the time of sentencing. (ECF No. 55
              15        at 6). Further, petitioner asserts that the “factual deficit caused the state court judge to enter a
              16        sentence that could not be given effect—that the state and federal times run together. Because
              17        Winn was in state custody at the time of sentencing, this [c]ourt’s sentence becomes nearly 12
              18        months longer than originally believed.” (ECF No. 55 at 6).
              19                Petitioner requests that this court vacate her current federal judgment and substitute it to
              20        include the following language: “The defendant is hereby committed to the custody of the United
              21        States Bureau of Prisons to be imprisoned for a total term of: credit for time served.” (ECF No.
              22        55 at 7).
              23                In response, the government contends that petitioner knowingly and voluntarily waived her
              24        right to collaterally attack her sentence. (ECF No. 57 at 5). The court agrees.
              25                In the plea agreement, the petitioner signed and acknowledged that she knowingly and
              26        expressly waives the following:
              27                (a) the right to appeal any sentence imposed within or below the applicable
                                Sentencing Guideline range as determined by the Court; (b) the right to appeal the
              28                manner in which the Court determined that sentence on the grounds set forth in 18
                                U.S.C. § 3742; and (c) the right to appeal any other aspect of the conviction or
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                1              sentence and any order of restitution or forfeiture. The defendant also knowingly
                               and expressly waives all collateral challenges, including any claims under 28
                2              U.S.C. § 2255, to her conviction, sentence, and the procedure by which the Court
                               adjudicated guilt and imposed sentence, except non-waivable claims of ineffective
                3              assistance of counsel.
                4       (ECF No. 49 at 10). In the instant motion, petitioner does not make a claim for ineffective

                5       assistance of counsel. (ECF No. 55). Rather, the motion seeks to collaterally challenge petitioner’s

                6       sentence, a right which she waived in her plea agreement (ECF No. 49). (ECF No. 55).

                7              Accordingly, petitioner’s motion will be denied.

                8              Furthermore, the court declines to issue a certificate of appealability. The controlling

                9       statute in determining whether to issue a certificate of appealability is 28 U.S.C. § 2253, which

              10        provides as follows:

              11               (a) In a habeas corpus proceeding or a proceeding under section 2255 before a
                               district judge, the final order shall be subject to review, on appeal, by the court of
              12               appeals for the circuit in which the proceeding is held.
              13               (b) There shall be no right of appeal from a final order in a proceeding to test the
                               validity of a warrant to remove to another district or place for commitment or trial
              14               a person charged with a criminal offense against the United States, or to test the
                               validity of such person's detention pending removal proceedings.
              15
                               (c)
              16                       (1) Unless a circuit justice or judge issues a certificate of appealability, an
                                       appeal may not be taken to the court of appeals from—
              17                               (A) the final order in a habeas corpus proceeding in which the
                                               detention complained of arises out of process issued by a State court;
              18                               or
                                               (B) the final order in a proceeding under section 2255.
              19                       (2) A certificate of appealability may issue under paragraph (1) only if the
                                       applicant has made a substantial showing of the denial of a constitutional
              20                       right.
                                       (3) The certificate of appealability under paragraph (1) shall indicate which
              21                       specific issue or issues satisfy the showing required by paragraph (2).
              22        28 U.S.C. § 2253.

              23               Under § 2253, the court may issue a certificate of appealability only when a movant makes

              24        a substantial showing of the denial of a constitutional right. 28 U.S.C. § 2253(c)(2). To make a

              25        substantial showing, the movant must establish that “reasonable jurists could debate whether (or,

              26        for that matter, agree that) the petition should have been resolved in a different manner or that the

              27        issues presented were ‘adequate to deserve encouragement to proceed further.’”              Slack v.

              28        McDaniel, 529 U.S. 473, 484 (2000) (citation omitted).


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                1               The court finds that petitioner has not made the required substantial showing of the denial
                2       of a constitutional right to justify the issuance of a certificate of appealability. Reasonable jurists
                3       would not find the court’s determination that movant is not entitled to relief under § 2255
                4       debatable, wrong, or deserving of encouragement to proceed further. Accordingly, the court
                5       declines to issue a certificate of appealability.
                6               In light of the foregoing, the court will deny petitioner’s motion to vacate, set aside, or
                7       correct sentence pursuant to 28 U.S.C. § 2255.
                8       IV.     Conclusion
                9               Accordingly,
              10                IT IS HEREBY ORDERED, ADJUDGED, and DECREED that petitioner Collette Winn’s
              11        motion to vacate, set aside, or correct sentence pursuant to 28 U.S.C. § 2255 (ECF No. 55) be, and
              12        the same hereby is, DENIED.
              13                DATED October 12, 2016.
              14                                                        __________________________________________
                                                                        UNITED STATES DISTRICT JUDGE
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